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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 CASE NO.: 19-CV-21148-SCOLA

  BRYAN BOIGRIS,

         Plaintiff,
  v.

  EWC P&T, LLC, a Florida
  limited liability company,

         Defendant.
  _____________________________/

  EWC P&T, LLC,

         Counter-Plaintiff,
  v.

  BRYAN BOIGRIS,

         Counter-Defendant.
  _____________________________/

   PLAINTIFF’S MOTION TO FILE UNDER SEAL PLAINTIFF’S RESPONSIVE
  MATERIALS IN OPPOSITION TO EWC’S SEALED MOTIONS AND DOCUMENTS

       Plaintiff, BRYAN BOIGRIS (the “Plaintiff”), by and through undersigned counsel,

  hereby files this Motion To File Under Seal Plaintiff’s Responsive Materials In Opposition To

  EWC’s Sealed Motions And Documents (the “Motion”) and in support thereof states as follows:

       1)   On December 20, 2019, Defendant/Counter-Plaintiff EWC P&T, LLC (“EWC”)

  filed its Unopposed Motion To Seal Motion For Summary Judgment And Statement Of

  Material Facts In Support [ECF 59].

       2)   On December 30, 2019, the Court entered a paperless order granting EWC’s

  Motion to Seal (the “Order”). Specifically, the Order ruled as follows:

         PAPERLESS ORDER: granting the Defendant EWC P&T, LLC's unopposed motion to
         seal its motion for summary judgment and statement of material facts. [59]. In
         accordance with the parties' stipulated protective order [46], the Defendant is
         permitted to file its motion for summary judgment and statement of material facts in



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         support of its motion for summary judgment under seal, which contain sensitive
         business information. The documents shall be maintained under seal for the duration
         of this litigation and any subsequent post-judgment proceedings including the appeal,
         at which time they shall be destroyed. WHEREFORE, Brian Boigris respectfully
         requests that this Court DENY Defendant’s, EWC P&T, LLC, Motion for Summary
         Judgment and grant such other or further relief as is just and proper.

  See Order at [ECF 61].

       3)     The Order did not rule on Plaintiff’s status with respect to filing responsive

  materials opposing the items filed under seal by ECF, notwithstanding the fact that said

  responsive materials will necessarily reference, cite, and otherwise contain information that

  is presently protected under seal as a result of the Court’s Order. See Order at [ECF 61].

       4)     In an abundance of caution, Plaintiff has submitted the responsive materials to

  opposing counsel, but has not yet filed said materials on CM/ECF out of a reasonable concern

  regarding the protection of EWC’s confidential information that had been filed under seal

  pursuant to the Court’s Order.

       5)     Plaintiff therefore request leave to file said responsive materials under seal. Such

  responsive materials include (i) Plaintiff’s Response to EWC’s Motion for Summary

  Judgment Filed Under Seal and (ii) Plaintiff’s Response to EWC’s Statement of Facts Filed

  Under Seal. The foregoing responsive materials are in response to, or are otherwise related

  to, EWC’s filings under seal and refenced on the Docket as [ECF 62], [ECF 63], [ECF 64], and

  [ECF 65].

       6)     The undersigned recently contacted counsel for EWC to determine if this relief can

  be filed as an unopposed motion, but has not yet received confirmation that said relief is

  unopposed. However, the undersigned reasonably believes that it is in EWC’s interests to

  protect confidential information that had been filed by EWC under seal from being exposed

  within Plaintiff’s responsive materials.




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          WHEREFORE, Plaintiff respectfully requests that the Court grant Plaintiff leave to

  file the aforementioned responsive materials, which have been previously sent to opposing

  counsel via email, under seal subject to the same conditions as stated in this Court’s

  December 30, 2019 Order [ECF 61].

  Dated: January 21, 2020.                    Respectfully submitted,

                                              HIRZEL, DREYFUSS & DEMPSEY, PLLC
                                              Counsel for Plaintiff
                                              2333 Brickell Ave, Suite A-1
                                              Miami, Florida 33129-2497
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                                              By: /s/ Patrick G. Dempsey
                                                     LEON F. HIRZEL
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                                                      Florida Bar No. 27676
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                                 CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that a copy of the foregoing was served via CM/ECF

  Notification to all parties registered to receive electronic notice on this 21th day of January,

  2020.



                                              By: /s/ Patrick G. Dempsey
                                                      PATRICK DEMPSEY




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